                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )     CASE NO. 3:13-00090-6
                                                   )     JUDGE SHARP
MARCO TULIO POLANCO-ALVARADO                       )
                                                   )

                                         ORDER

        Pending before the Court is Defendant’s Motion for Change of Plea Hearing (Docket No.

137).

        The motion is GRANTED and a hearing on a plea of guilty is hereby scheduled for

Monday, August 12, 2013, at 2:30 p.m.

        It is so ORDERED.


                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00090         Document 154     Filed 08/09/13    Page 1 of 1 PageID #: 607
